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             IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                                  CONNECTICUT

                                 August 6th, 2018         ~      '        .
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                                                                                                                       -
                                                    ~ •   ....       f"       •    ...




_Matthew Jones_
                                                                                                                                \
                                                                                                                                    )
Plaintiff,

-against-

- Yale University,_                                                                                                        .'

Defendant.
                                                                              1
                                        Case Number _)                            ~ J )(CV' fJ ~- tJU3

                                                                                              (COMPLAINT)

                                                                                                             (ProSe)

                                                                                              Jury Demand?

                                                                                                                 Yes

I. PARTIES IN THIS COMPLAINT

        Plaintiff

                Jones, Matthew N. P.

                11366 Sussex Highway

                Sussex County, Greenwood                             Delaware                  19950

                (302) 349-5251                 AzraellinusSmith@gmail.com
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      Defendant

      Yale University

      President's Office

      PO Box 208229

      New Haven, CT 06520-8229




II. BASIS FOR JURISDICTION

(check) U.S. Government Defendant

(check) Federal Question



Ill. VENUE

Venue is appropriate in this court because:

The Defendants reside in this district.

(2) A substantial part of the events that I am suing about happened in this
district.- Under Title 28 U.S.C. Section 1391




IV. STATEMENT OF A CLAIM

Place(s) of Occurrence:_ Yale University Mental Health Hospital_

Date(s) of Occurrence: 2010 but there is a history of repeated offenses
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(State briefly here the FACTS that support your case. Describe how each
defendant was personally involved in the alleged wrongful acts.)

FACTS: The first law of medicine is to do no harm. There is no statute of
limitations on capital offenses. (Section 3281 of Title 18)

During two separate involuntary stays, I was raped in the night and had to
be taken to another hospital where I was given Truvada to hope to prevent
the transmission of HIV into my blood.

When I sued Yale in 2017, with a collection of other Defendants, the case
was Dismissed citing "Immunity for government employees." No mention of
Yale was included in the Dismissal by the District or Circuit Court. If Yale's
case was dismissed erroneously, I present it again here. If Yale is considered
a government employee by virtue of being a state actor, I have new
evidence to offer below.

I was deprived of my right to Trial. My mental health hearings were held
without me being present. Evidence of my sanity was not allowed to be
presented in court. {6th Amendment, 42 U.S. C. 55 9501 Bill of Rights, & 42
U.S. C. 551985 Bill of Rights).

I was forced to take medications that are unhealthy for my body. (18 U.S.C.
511113 Attempt To Commit Murder Or Manslaughter
18 U.S.C. 511117 Conspiracy To Murder)The side effects of the medications
and the injections that I was forced to take were not discussed with me. Nor
was I provided with any literature explaining them or any alternative
options (42 U.S. C. 95011 (C) i-vi). My condition was maliciously made. A
known falsehood, schizophrenia. Symptoms of the disease are that I
"delusionally" believe that Linda C. Jones is not my birth mother. (Title 18,
U.S. C., 1035 False Statements Relating To Health Care Matters) Nude
Photos of Linda C. Jones: https://goo.g!/photos/UylicGjVi5aCDMf9A. Linda
C. Jones' gender is X or XO. Only XX gendered women can concieve and
bear children. This is a condition that Linda was born with and prevents
Linda from ever having children. I am Linda's Power of Attorney and
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caregiver {42 U.S. C. 55 9501 3 (B) i). Taking me away from Linda and lethally
dosing me with medications for diseases that I clearly do not have are
attempted murders committed by the Defendants against both I and Linda
{Title 18, U.S. C., Section 241 Conspiracy Against Rights).

Another erroneous symptom was that I could not physically describe Jenna
Roberts or her HIV status. Photographs and medical records will prove that I
can.

Schizophrenia can be seen in a brain scan. The Defendant did not provide
me with one or do other necessary tests to confirm or negate the disease. I
do not have schizophrenia.
{bttps;//www.facebook.com/photo.php?fbjd=10154182180454464&set=a.
10154182042509464.1073741975.855609463&type=3&theater)

Own my own, I paid to scan my brain for schizophrenia and other mental
illnesses. The results are that I have a disease free and healthy brain.
{https://www.facebook.com/matthew.n.jones/media set?set=a.10153351
330584464.1073741917.855609463&type=3) The Defendant was provided
with this evidence and expert testimony from a psychiatrist, but continue
with its diagnosis and court-ordered medications.

The misdiagnosis and intolerable poisonings constitute cruel and unusual
punishment {8th Amendment). The mental health mistreatment coincides
with a life long of abuse, assault, attempted murder and rape by the
government employees and its agents. I am not free to live, work, date, etc.
My records are falsified purposely by the Defendant to keep me in the
lowest class. A violation of the 13th Amendment. The Defendant's illegal
actions prevent me from owning firearms which are my 2nd Amendment
right.

The illegal activity and diagnosis of illiteracy and insanity hinder my 1st
Amendment rights to freedom of speech and religion.

I invoke my 7th Amendment right to Jury Trial.
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11
     0fficers of the court have no immunity, when violating a constitutional
right, for they are deemed to know the law." Owens v Independence 100
S.C.T. 1398
11
 An officer who acts in violation of the Constitution ceases to represent the
government". Brookfield Const. Co. v. Kozinski, 284 F. Supp. 94




28 U.S. C. 1442 (a) (1) states that the proper venue to sue a federal officer is
the nearest U.S. District Court.

28 U.S. C. 1442 (c) (1-3} states that an U.S. government employee 'is only
under the color of his office during a violent emergency or when he/she is
preventing the escape of a violent offender.'

There is no immunity in the United States. Sovereign Immunity has not
existed since prior to the American Revolution (U.S. Constitution Article 3
Section 2}. Only traitors to this land believe in immunity, and it is clearly
written this way in numerous places (U.S. Constitution Article 6). See 11 The
Declaration of Independence, The Articles of Confederation, the writings of
Franklin, Jefferson, Hawthorne, and Payne, The Emancipation Proclamation,
The Gettysburg Address, the writings of Abraham Lincoln, The writings of
JFK, and MLK, Jr., The Pledge of Allegiance, The U.S. Constitution, The
Federal Rules, and the U.S. Code.

O'Connor v. Donaldson, 422 U.S. 563 {1975}, was a landmark decision in

mental health law. The United States Supreme Court ruled that a state

cannot constitutionally confine a non-dangerous individual who is capable

of surviving safely in freedom by themselves or with the help of willing and

responsible family members or friends. Since the trial court jury found,
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upon ample evidence, that petitioner did so confine respondent, the

Supreme Court upheld the trial court's conclusion that petitioner had

violated respondent's right to liberty.

Addington v. Texas~ 441 U.S. 418 {1979}, was a landmark United States

Supreme Court case that set the standard for involuntary commitment for

treatment by raising the burden of proof required to commit persons for

psychiatric treatment from the usual civil burden of proof of

.. preponderance of the evidence .. to .. clear and convincing evidence ...




Evidence of Stay:
https://www.facebook.com/matthew.n.jones/medfa set?set=a. 101529360
24809464.1073741869.855609463&type=3



V. INJURIES

If you have sustained injuries as a result of the events to the alleged above,
describe them here:

I have been injured from head to toe. The anti psychotics given to me
poisoned my whole body and brain. The reputation of a schizophrenic man
hinders my work and ability to find work. The medications caused me to
gain hundreds of pounds. They raised my heart rate, blood pressure, and
sugar to unhealthy levels. The rapes and the six month wait to confirm that I
do not have HIV was very stressful. The infections from not treating my
wounds that I suffered there caused further damage. Medical Records:
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(https://www.tacebook.com/mattbew.n.jones/media set?set=a,l0154063
334729464.1073741971.855609463&type=3) Medical Records (2):
(https;//www.facebook.com/matthew.n. jones/roed ia sel ?set=a .10154063
354809464.1073741972.855609463&type=3)



VI. RELIEF



The relief I want the court to order is:

(check) Money damages in the amount of: $2,000,000,000 2 Billion United
States Dollars, Currency (USD)



Case law & precedent:

Clinton v. Jones, 520 U.S. 681 (1997)

Empress Casino Joliet Corp. et al. v. Rod R. Blagojevich et al., case numbers
09-3975 & 10-1019

USA v. Blagojevich et al., case number 1:08-cr-00888

Taylor v. louisiana, 419 US 522- Supreme Court 1975

Monell v. New York City Dept. of Social Servs., 436 US 658- Supreme Court
1978

Monteiro v. Tempe Union High School Dist., 158 F. 3d 1022- Court of
Appeals, 9th Circuit 1998

American libraries Ass•n v. Pataki, 969 F. Supp. 160- Dist. Court, SO New
York 1997

Americans with Disabilities Act, Pub. l. No. 101-336, 104 Stat. 327 (1990)
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(codified at 42 U.S.C. §§ 12101-12213 (Supp. IV 1992)).

42 U.S.C. §§ 12111-12117 (Supp. IV 1992)

The State of California v. Orenthal James Simpson, Case: BA097211




VII. CLOSING

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the
best of my

knowledge, information, and belief that this complaint: (1) is not being
presented for an improper

purpose, such as to harass, cause unnecessary delay, or needlessly increase
the cost of litigation;

(2) is supported by existing law or by a nonfrivolous argument for extending
or modifying

existing law; and (3) complies with the requirements of Rule 11.

I agree to provide the Clerk•s Office with any changes to my address where
case-related papers

may be served. I understand that my failure to keep a current address on
file with the Clerk•s

Office may result in the dismissal of my case.



     08/06/2018_ _ _ _ __
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                                        Plaintiffs Signature



                                                          Jones, Matthew,N.P

                                                       11366 Sussex Highway,

                                                               Greenwood
                                                        Delaware- -19950

                                                               {302)349-5251

                                                AzraellinusSmith@gmail.com



Plaintiff need not send exhibits, affidavits, grievance or witness statements,
or any other

materials to the Clerk's Office with this complaint.
